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                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF OREGON


ALONZO J. S.,1                                   3:19-cv-01588-BR

              Plaintiff,                         OPINION AND ORDER

v.

COMMISSIONER OF SOCIAL
SECURITY,

              Defendant.


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     1  In the interest of privacy this Court uses only the first
name and the initial of the last name of the nongovernmental
party in this case. Where applicable, this Court uses the same
designation for the nongovernmental party's immediate family
member.


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BROWN, Senior Judge.

       Plaintiff Alonzo J. S. seeks judicial review of the final

decision of the Commissioner of the Social Security

Administration (SSA) in which the Commissioner denied in part

Plaintiff's applications for Disability Insurance Benefits (DIB)

under Title II of the Social Security Act and Supplemental

Security Income (SSI) under Title XVI of the Social Security

Act.   This Court has jurisdiction to review the Commissioner's

final decision pursuant to 42 U.S.C. § 405(g).

       For the reasons that follow, the Court REVERSES the

decision of the Commissioner as to the denial of Plaintiff's

benefits from February 24, 2012, Plaintiff's amended onset

disability date, to June 8, 2015, and REMANDS this matter for

further proceedings as set out in this Opinion and Order.



                         ADMINISTRATIVE HISTORY

       On June 8, 2015, Plaintiff protectively filed applications


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for DIB and SSI benefits.         Tr. 14.2     Plaintiff alleged initially

a disability onset date of September 20, 2010.                  Tr. 14.

Plaintiff's applications were denied initially and on

reconsideration.       An Administrative Law Judge (ALJ) held

hearings on September 13, 2017, and March 1, 2018.                 Tr. 14,

724-49, 750-70.       Plaintiff, a vocational expert (VE), and a

medical expert (ME) testified at the hearings.                  Plaintiff was

represented by an attorney at the hearing.             At the hearing

Plaintiff amended his alleged disability onset date to

February 24, 2012.       Tr. 14.

     On April 30, 2018, the ALJ issued an opinion in which he

found Plaintiff became disabled beginning on June 8, 2015, and

awarded Plaintiff SSI benefits beginning on that date.                    Tr. 26.

The ALJ, however, found Plaintiff was not disabled from

February 24, 2012, to June 8, 2015, and, therefore, is not

entitled to DIB benefits for that period.             Tr. 22, 26.         On

June 20, 2018, Plaintiff requested review by the Appeals

Council.     Tr. 79.    On June 22, 2018, the Appeals Council denied

reconsideration.




     2 Citations to the official Transcript of Record (#10)
filed by the Commissioner on April 14, 2020, are referred to as
"Tr."


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Tr. 81.   On August 6, 2018, Plaintiff filed a request for a

hearing regarding calculation of his SSI benefits.            Tr. 79.      On

February 12, 2019, Plaintiff withdrew his request for a hearing.

Tr. 9.    Accordingly, on February 19, 2019, the ALJ dismissed

Plaintiff's request for a hearing; the Appeals Council's denial

of reconsideration dated June 22, 2018, remained in effect; and

the ALJ's decision on April 30, 2018, became the final decision

of the Commissioner.    Tr. 6-8.    See Sims v. Apfel, 530 U.S. 103,

106-07 (2000).

     On October 3, 2019, Plaintiff filed a Complaint in this

Court seeking review of the Commissioner's decision as to the

denial of DIB benefits for the period from February 24, 2012, to

June 8, 2015.



                               BACKGROUND

     Plaintiff was born on March 16, 1971.         Tr. 272.      Plaintiff

was 40 years old on his alleged amended disability onset date.

Plaintiff has a high-school education and some college courses.

Tr. 22, 729.

     Plaintiff alleges disability due to chronic low-back

problems, sciatica, and anxiety.      Tr. 130.

     Except as noted, Plaintiff does not challenge the ALJ's



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summary of the medical evidence.       After carefully reviewing the

medical records, this Court adopts the ALJ's summary of the

medical evidence.    See Tr. 20-24.



                                 STANDARDS

     The initial burden of proof rests on the claimant to

establish disability.    Molina v. Astrue, 674 F.3d 1104, 1110

(9th Cir. 2012).    To meet this burden, a claimant must

demonstrate his inability "to engage in any substantial gainful

activity by reason of any medically determinable physical or

mental impairment which . . . has lasted or can be expected to

last for a continuous period of not less than 12 months."                42

U.S.C. § 423(d)(1)(A).       The ALJ must develop the record when

there is ambiguous evidence or when the record is inadequate to

allow for proper evaluation of the evidence.            McLeod v. Astrue,

640 F.3d 881, 885 (9th Cir. 2011)(quoting Mayes v. Massanari,

276 F.3d 453, 459B60 (9th Cir. 2001)).

     The district court must affirm the Commissioner's decision

if it is based on proper legal standards and the findings are

supported by substantial evidence in the record as a whole.                  42

U.S.C. § 405(g).    See also Brewes v. Comm'r of Soc. Sec. Admin.,

682 F.3d 1157, 1161 (9th Cir. 2012).         Substantial evidence is



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"relevant evidence that a reasonable mind might accept as

adequate to support a conclusion."          Molina, 674 F.3d. at 1110-11

(quoting Valentine v. Comm'r Soc. Sec. Admin., 574 F.3d 685, 690

(9th Cir. 2009)).    "It is more than a mere scintilla [of

evidence] but less than a preponderance."           Id. (citing

Valentine, 574 F.3d at 690).

     The ALJ is responsible for evaluating a claimant's

testimony, resolving conflicts in the medical evidence, and

resolving ambiguities.       Vasquez v. Astrue, 572 F.3d 586, 591

(9th Cir. 2009).    The court must weigh all of the evidence

whether it supports or detracts from the Commissioner's

decision.     Ryan v. Comm'r of Soc. Sec., 528 F.3d 1194, 1198 (9th

Cir. 2008).     Even when the evidence is susceptible to more than

one rational interpretation, the court must uphold the

Commissioner's findings if they are supported by inferences

reasonably drawn from the record.       Ludwig v. Astrue, 681 F.3d

1047, 1051 (9th Cir. 2012).      The court may not substitute its

judgment for that of the Commissioner.          Widmark v. Barnhart, 454

F.3d 1063, 1070 (9th Cir. 2006).




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                          DISABILITY ANALYSIS

I.   The Regulatory Sequential Evaluation

     At Step One the claimant is not disabled if the

Commissioner determines the claimant is engaged in substantial

gainful activity (SGA).      20 C.F.R. §§ 404.1520(a)(4)(i),

416.920(a)(4)(i).    See also Keyser v. Comm'r of Soc. Sec., 648

F.3d 721, 724 (9th Cir. 2011).

     At Step Two the claimant is not disabled if the

Commissioner determines the claimant does not have any medically

severe impairment or combination of impairments.            20 C.F.R.

§§ 404.1509, 404.1520(a)(4)(ii), 416.920(a)(4)(ii).             See also

Keyser, 648 F.3d at 724.

     At Step Three the claimant is disabled if the Commissioner

determines the claimant's impairments meet or equal one of the

listed impairments that the Commissioner acknowledges are so

severe as to preclude substantial gainful activity.             20 C.F.R.

§§ 404.1520(a)(4)(iii), 416.920(a)(4)(iii).          See also Keyser,

648 F.3d at 724.    The criteria for the listed impairments, known

as Listings, are enumerated in 20 C.F.R. part 404, subpart P,

appendix 1 (Listed Impairments).

     If the Commissioner proceeds beyond Step Three, he must

assess the claimant's residual functional capacity (RFC).              The



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claimant's RFC is an assessment of the sustained, work-related

physical and mental activities the claimant can still do on a

regular and continuing basis despite his limitations.             20 C.F.R.

§§ 404.1520(e), 416.920(e).     See also Social Security Ruling

(SSR) 96-8p.   "A 'regular and continuing basis' means 8 hours a

day, for 5 days a week, or an equivalent schedule."             SSR 96-8p,

at *1.   In other words, the Social Security Act does not require

complete incapacity to be disabled.        Taylor v. Comm'r of Soc.

Sec. Admin., 659 F.3d 1228, 1234-35 (9th Cir. 2011)(citing Fair

v. Bowen, 885 F.2d 597, 603 (9th Cir. 1989)).

     At Step Four the claimant is not disabled if the

Commissioner determines the claimant retains the RFC to perform

work he has done in the past.      20 C.F.R. §§ 404.1520(a)(4)(iv),

416.920(a)(4)(iv).    See also Keyser, 648 F.3d at 724.

     If the Commissioner reaches Step Five, he must determine

whether the claimant is able to do any other work that exists in

the national economy.    20 C.F.R. §§ 404.1520(a)(4)(v),

416.920(a)(4)(v).    See also Keyser, 648 F.3d at 724-25.            Here

the burden shifts to the Commissioner to show a significant

number of jobs exist in the national economy that the claimant

can perform.   Lockwood v. Comm'r Soc. Sec. Admin., 616 F.3d

1068, 1071 (9th Cir. 2010).     The Commissioner may satisfy this



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burden through the testimony of a VE or by reference to the

Medical-Vocational Guidelines (or the grids) set forth in the

regulations at 20 C.F.R. part 404, subpart P, appendix 2.                If

the Commissioner meets this burden, the claimant is not

disabled.   20 C.F.R. §§ 404.1520(g)(1), 416.920(g)(1).



                               ALJ'S FINDINGS

      At Step One the ALJ found Plaintiff has not engaged in

substantial gainful activity since February 24, 2012,

Plaintiff's amended alleged disability onset date.              Tr. 16.

      At Step Two the ALJ found Plaintiff has the severe

impairments of degenerative disc disease, irritable bowel

disease, anxiety, and depression.        Tr. 17.

      At Step Three the ALJ concluded Plaintiff's medically

determinable impairments from February 24, 2012, to June 8,

2015, did not meet or medically equal one of the listed

impairments in 20 C.F.R. part 404, subpart P, appendix 1.                Tr.

17.   The ALJ found Plaintiff had the RFC to perform sedentary

work prior from February 24, 2012, to June 8, 2015, with the

following limitations:        could occasionally climb ramps and

stairs; could occasionally balance, stoop, kneel, crouch, and

crawl; could not climb ladders, ropes, or scaffolds; could not



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be exposed to extreme temperatures, vibrations, or hazards; and

was limited to simple, routine tasks.         Tr. 19.

      At Step Four the ALJ did not make any finding regarding

Plaintiff's ability to perform his past relevant work from

February 24, 2012, to June 8, 2015.         Tr. 22.

      At Step Five the ALJ found Plaintiff could perform other

jobs that exist in the national economy prior from February 24,

2012, to June 8, 2015, such as taper, "wafer breaker," and table

worker.   Tr. 22-23.    Accordingly, the ALJ found Plaintiff was

not disabled from February 24, 2012, to June 8, 2015.               Tr. 23,

25.



                                DISCUSSION

      As to the period from February 24, 2012, to June 8, 2015,

Plaintiff contends the ALJ erred when he (1) failed to provide

legally sufficient reasons for rejecting the medical opinion of

Paul Hansen, M.D., the testifying medical expert; (2) failed to

provide legally sufficient reasons for discounting Plaintiff's

subjective symptom testimony; (3) failed to provide legally

sufficient reasons for discounting the lay-witness testimony of

Allyn Vannoy, Plaintiff's landlord; and (4) failed to include

all of Plaintiff's limitations in the hypothetical posed to the



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VE.   Plaintiff requests the Court to remand this matter for the

immediate payment of benefits for this period.

      In his Response Brief (#13) the Commissioner concedes the

ALJ erred when he failed to address all of Dr. Hansen's

testimony regarding Plaintiff's disability from February 24,

2012, to June 8, 2015, and, therefore, the Commissioner requests

the Court to remand this matter for further administrative

proceedings as to that issue only.          The Commissioner does not

contest the other errors asserted by Plaintiff.

      Thus, the only issue before this Court is whether the ALJ's

failure to address all of Dr. Hansen's testimony requires the

Court to remand this matter for further administrative

proceedings or for the immediate calculation and payment of

benefits from February 24, 2012, to June 8, 2015.

I.    Remand Standards

      The decision whether to remand for further proceedings or

for payment of benefits generally turns on the likely utility of

further proceedings.     Carmickle, 533 F.3d at 1179.           The court

may "direct an award of benefits where the record has been fully

developed and where further administrative proceedings would

serve no useful purpose."       Smolen, 80 F.3d at 1292.

      The Ninth Circuit has established a three-part test "for



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determining when evidence should be credited and an immediate

award of benefits directed."        Harman v. Apfel, 211 F.3d 1172,

1178 (9th Cir. 2000).      The court should grant an immediate award

of benefits when

            (1) the ALJ has failed to provide legally sufficient
            reasons for rejecting such evidence, (2) there are no
            outstanding issues that must be resolved before a
            determination of disability can be made, and (3) it is
            clear from the record that the ALJ would be required
            to find the claimant disabled were such evidence
            credited.

Id.    The second and third prongs of the test often merge into a

single question:     Whether the ALJ would have to award benefits

if the case were remanded for further proceedings.               Id. at 1178

n.2.

II.    Analysis

       Dr. Hansen, the ME, testified at the hearing before the ALJ

that Plaintiff's symptoms would keep him off-task for ten

minutes out of every hour.        Tr. 759-60.     The parties agree the

ALJ erred when he did not address this portion of Dr. Hansen's

opinion and the ALJ's error was not harmless.

       The Commissioner contends, however, there are factual

issues to be resolved that require the Court to remand this case

for further administrative proceedings regarding Plaintiff's

disability from February 24, 2012, to June 8, 2015.               Plaintiff



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contends the record "as a whole" including all of Dr. Hansen's

testimony, "does not create serious doubt" that he was disabled

from February 24, 2012, to June 8, 2015, and, therefore, the

Court should remand this matter for the immediate calculation

and payment of benefits from February 24, 2012, to June 8, 2015.

     Plaintiff maintains his own testimony regarding his

physical pain and the resulting limitations from his impairments

do not conflict with Dr. Hansen's opinion.          For example, in his

August 8, 2015, Function Report Plaintiff reported his back pain

and sciatica has prevented him from being on his feet for "any

significant length of time."      Tr. 323.     Plaintiff noted he has

spent most of his time on the couch with his leg elevated, and

the pain "at times" has awakened him at night and interfered

with his ability to perform his personal care.              Tr. 324-25.

Plaintiff stated the pain also affects his ability to drive and

his ability to stand or to sit for long periods although he

usually finishes what he starts "unless the pain makes [him]

stop."   Tr. 326, 328.   Plaintiff stated he, nevertheless, could

pay attention for "as long as [he] need[s] to."             Tr. 328.     Thus,

the record reflects Plaintiff does not allege any problems with

concentration or difficulty completing tasks.           Tr. 328.      In

addition, Allyn Vannoy, Plaintiff's landlord, stated in a Third-



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Party Function Report dated August 9, 2015, that Plaintiff's

condition did not affect his concentration or ability to

complete tasks.      Tr. 336.     These statements conflict with

Dr. Hansen's testimony regarding Plaintiff's ability to

concentrate and to complete tasks.            The ALJ pointed out and

relied on this evidence when he found Plaintiff had only

moderate limitations in his ability to concentrate, to persist,

and to maintain pace from the time of his amended alleged onset

date.    Tr. 18.

             On this record the Court concludes there is a conflict

in the evidence that the ALJ must resolve in order to determine

whether Plaintiff was disabled from February 24, 2012, to

June 8, 2015.      Accordingly, the Court remands this matter for

further administrative proceedings as to this issue only.



                                  CONCLUSION

        For these reasons, the Court REVERSES the decision of the

Commissioner that Plaintiff was not disabled from February 24,

2012, to June 8, 2015, and REMANDS this matter pursuant to

sentence four of 42 U.S.C. § 405(g) for further administrative




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proceedings.

     IT IS SO ORDERED.

     DATED this 20th day of October, 2020.


                                  /s/ Anna J. Brown
                             ______________________________________
                             ANNA J. BROWN
                             United States Senior District Judge




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